






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00485-CR






In re Thomas J. Barry




Raul Martinez, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 147TH JUDICIAL DISTRICT


NO. 1010920, HONORABLE WILFORD FLOWERS, JUDGE PRESIDING






O R D E R


PER CURIAM

This is a contempt proceeding ancillary to Raul Martinez's appeal from a judgment
of conviction for aggravated assault.  The subject of this proceeding is Thomas J. Barry, appellant's
counsel.

Appellant's brief in this cause was originally due November 1, 2002.  The time for
filing appellant's brief in this cause was extended two times on counsel's motion.  On February 1,
2002, in granting the second motion, this Court ordered counsel to tender a brief on appellant's
behalf no later than February 20, 2002.  Counsel failed to file a brief as ordered.  Therefore, on
March 22, 2002, this Court entered an order requiring counsel to appear in person before this Court
on April 17, 2002, to show cause why he should not be held in contempt and sanctions imposed for
his failure to obey the February 1, 2002, order of this Court.

The show-cause hearing was held and counsel appeared as ordered.  Counsel offered
no plausible explanation for his failure to obey the Court's order.  Counsel represented to the Court
that he would file his brief by 5:00 p.m. on April 19, 2002. The Court ordered counsel to tender a
brief by that date and time.  Counsel did not do so, and to date no brief has been tendered for filing. 

We find that Thomas J. Barry is in contempt of this Court and should be punished by
a fine in the amount of $500.  This fine shall be paid to the Clerk of this Court on or before May 1,
2002.  The Clerk is instructed to deliver a copy of this order to the Chief Disciplinary Counsel of the
State Bar of Texas.

It is ordered April 23, 2002.


Before Chief Justice Aboussie, Justices B. A. Smith and Yeakel

Do Not Publish


